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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                 21-CR-31-A

JOSEPH BELLA

                     Defendant.



                       NOTICE OF MOTION AND MOTION TO
                             SET A DATE FOR TRIAL


       PLEASE TAKE NOTICE that the United States of America, by its attorneys, James

P. Kennedy, Jr., United States Attorney for the Western District of New York, and Nicholas

T. Cooper, Assistant United States Attorney, of counsel, hereby moves this Court to set a date

for trial in this action, such motion to be heard by the United States District Court for the

Western District of New York, United States Courthouse 2 Niagara Square, Buffalo, New

York, at a date and time to be determined by the Court.


       DATED: Buffalo, New York, May 13, 2021.

                                           JAMES P. KENNEDY, JR.
                                           United States Attorney


                                    BY:    s/NICHOLAS T. COOPER
                                           Assistant United States Attorney
                                           United States Attorney=s Office
                                           Western District of New York
                                           138 Delaware Avenue
                                           Buffalo, New York 14202
                                           716/843-5830
                                           Nicholas.Cooper@usdoj.gov
       Case 1:21-cr-00031-RJA-MJR Document 9 Filed 05/13/21 Page 2 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                     21-CR-31-A

JOSEPH BELLA
                      Defendants.



                                           AFFIDAVIT


STATE OF NEW YORK )
COUNTY OF ERIE    )                  SS:
CITY OF BUFFALO   )


       NICHOLAS T. COOPER, being duly sworn, deposes and states:



       1.     I am an Assistant United States Attorney for the Western District of New York

assigned to the prosecution of the above-referenced case. This affidavit is submitted in support

of the government’s motion to set a date for trial in this action.



       2.     On March 9, 2021, the Magistrate Court issued a Scheduling Order dictating

that the Defendant’s motions were to be submitted by May 7, 2021. To date, no motions have

been filed by the defendant.



       3.     It is respectfully requested that a date for trial be set by the District Court in this

action in order to properly monitor the case and ensure a reasonably prompt trial. Further,

“[p]ursuant to the Sixth Amendment, the court and the government owe an affirmative
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obligation to criminal defendants and to the public to bring matters to trial promptly.” United

States v. Black, 918 F.3d 243 at 253 (2d Cir. 2019). Indeed, “the government . . . owe[s] the

additional duty of monitoring the case and pressing the court for a reasonably prompt trial.”

Id.



       4.      Accordingly, the government requests that this Court schedule a status

conference for the purpose of consulting with counsel for the defendant and the attorney for

the government, and setting the case for trial on a day certain.



                                            s/NICHOLAS T. COOPER
                                            Assistant United States Attorney
                                            United States Attorney=s Office
                                            Western District of New York
                                            138 Delaware Avenue
                                            Buffalo, New York 14202
                                            716/843-5830
                                            Nicholas.Cooper@usdoj.gov

Subscribed and sworn to before me

this 13th day of May, 2021.


s/ELIZABETH M. HARF
COMMISSIONER OF DEEDS
In And For The City Of Buffalo, N.Y.
My Commission Expires Dec. 31, 2022.




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